         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                       Case No. 5D2023-1481
                 L.T. Case No. 2015-MH-000564-A
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ANTHONY WOODS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Lake County,
Don F. Briggs, Judge.

Matthew J. Metz, Public Defender, and Natalie R. Gossett,
Assistant Public Defender, Daytona Beach, for Appellant.

Anthony Woods, Arcadia, pro se.

Ashley Moody, Attorney General, Tallahassee, and Douglas T.
Squire, Assistant Attorney General, Daytona Beach, for Appellee.

                         August 20, 2024

PER CURIAM.

    AFFIRMED.

EISNAUGLE, BOATWRIGHT, and MACIVER, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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